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 7
                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
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10      BRENDA M. JOHNSON,
                                                               CASE NO. 3:20-cv-05857-MJP
11                              Plaintiff,
                                                               ORDER GRANTING
12              v.                                             APPLICATION TO PROCEED IN
                                                               FORMA PAUPERIS
13      ELECTRONIC TRANSACTION
        CONSULTANTS LLC,
14
                                Defendant.
15

16          The Court, having reviewed plaintiff's application to proceed in forma pauperis (“IFP”),

17   does hereby find and ORDER:

18          Because plaintiff does not appear to have funds available to afford the $400 filing fee,

19   plaintiff financially qualifies for IFP status pursuant to 28 U.S.C. § 1915(a)(1). Therefore,

20   plaintiff’s IFP application (Dkt. 1) is GRANTED. However, the undersigned recommends

21   review under 28 U.S.C. § 1915(e)(2)(B). The Clerk of the Court is directed to send a copy of

22   this Order to plaintiff and to the assigned District Judge.

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     ORDER GRANTING APPLICATION TO PROCEED IN
     FORMA PAUPERIS - 1
             Case 3:20-cv-05857-MJP Document 5 Filed 08/31/20 Page 2 of 2




 1         Dated this 31st day of August, 2020.

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 4
                                                  A
                                                  J. Richard Creatura
                                                  United States Magistrate Judge
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     ORDER GRANTING APPLICATION TO PROCEED IN
     FORMA PAUPERIS - 2
